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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                                   :
UNITED STATES OF AMERICA,                          :
                                                   :
                                                   :
                      v.                           :       S1 No. 15-cr-00155 (RNC)
                                                   :
ROSS SHAPIRO,                                      :
MICHAEL GRAMINS and                                :       July 8, 2016
TYLER PETERS                                       :
                                                   :
                                                   :

  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION IN LIMINE
        TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
                THE DEFENDANTS’ COMPENSATION


       Defendants Ross Shapiro, Michael Gramins, and Tyler Peters respectfully submit this

memorandum of law in support of their motion in limine to preclude the government from

offering any evidence at trial relating to the defendants’ compensation at Nomura Securities

International, Inc. (“Nomura”) or at any financial institution at which they worked prior to

Nomura. This would include evidence regarding the amount of base salary, non-discretionary

bonuses, or discretionary bonuses received by the defendants. Such evidence is irrelevant to the

allegedly unlawful conduct described in the Superseding Indictment and is highly likely to cause

unfair prejudice by inflaming the jury. Accordingly, the government should be precluded from

introducing this evidence at trial pursuant to Rules 401 and 403 of the Federal Rules of

Evidence.

       Defendants also seek to preclude the government from offering any evidence or arguing

or insinuating at trial that the profits earned by Nomura on individual trades of residential

mortgage-backed securities (“RMBS”) were actually earned by the defendants, “went into their
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pockets,” or similar characterizations. It is indisputable that the profits associated with the trades

referenced in the Superseding Indictment were retained by Nomura and did not flow directly to

the defendants. Thus, any reference or insinuation by the government or its witnesses that these

profits were equivalent to the defendants’ profits is untrue, misleading, and prejudicial, and

should also be excluded pursuant to Rules 401 and 403.

                                           ARGUMENT

       The Superseding Indictment alleges that, while working at Nomura, the defendants (1)

misrepresented to certain purchasers of RMBS the price that Nomura had paid for the RMBS, (2)

misrepresented to certain sellers of RMBS the price that Nomura anticipated that it could resell

the RMBS, and (3) misrepresented to certain purchasers of RMBS that Nomura was trying to sell

RMBS owned by a third party, when instead the RMBS were owned by Nomura. Superseding

Indictment (“Ind.”) ¶ 35(a)-(b). Notably, the Superseding Indictment does not allege a direct

correlation between any additional profits earned by Nomura on the trades referenced in the

Superseding Indictment (the “Charged Trades”) and the compensation earned by the defendants.

Nor could it. In fact, the Superseding Indictment states several times that the defendants’ alleged

misrepresentations created additional profits for Nomura, not for the defendants themselves.

See, e.g., Superseding Ind. ¶ 33(a)(i) (alleging defendants “induce[d] the victim customers to pay

a higher overall price, thereby providing Nomura with an extra and unearned profit”); ¶ 33(a)(ii)

(alleging defendants “induce[d] the victim-customer to sell the RMBS bond at a price lower than

they otherwise would achieve, thereby providing Nomura with an extra and unearned profit”); ¶

33(c)(i) (alleging defendants “informed [other traders] that they could have made more profit for

Nomura by lying to Nomura’s customers”); Count Two (alleging misrepresentation that




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“Nomura would . . . only make eight ticks . . . when, in truth, Nomura made 20 ticks on the

sale”) (emphasis added).

       Based upon the government’s proposed exhibit list, however, as well as arguments made

by the government at trial in Litvak I, we anticipate the government will seek to introduce

evidence of defendants’ compensation while they worked at Nomura. The government has

included the personnel files for each of the three defendants, which include documents detailing

the amount of their annual compensation. The government has also included multiple internal

Nomura charts that lay out the total compensation, including salary and bonuses, received

annually by each member of the RMBS desk at Nomura. In addition, the government introduced

evidence and testimony regarding the defendants’ annual compensation to the grand jury. This is

a textbook example of evidence that is both irrelevant and highly prejudicial and which should,

therefore, be excluded.

       “Relevancy is a threshold inquiry,” and irrelevant evidence is inadmissible. Dowling v.

United States, 493 U.S. 342, 351 n.3 (1990). “Evidence is relevant if: (a) it has any tendency to

make a fact more or less probable than it would be without the evidence; and (b) the fact is of

consequence in determining the action.” Rule 401. Even relevant evidence may be excluded “if

its probative value is substantially outweighed by a danger of . . . unfair prejudice, confusing the

issues, [or] misleading the jury.” Rule 403. “Unfair prejudice” in the context of Rule 403 arises

from evidence that may “lure the factfinder into declaring guilt on a ground different from proof

specific to the offense charged.” United States v. Nachamie, 101 F. Supp. 2d 134, 141 (S.D.N.Y.

2000) (quoting Old Chief v. United States, 519 U.S. 172, 180 (1997)).

       To introduce evidence of defendants’ compensation, the government must link

defendants’ total compensation to the allegedly unlawful profits associated with the trades at




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issue in the Superseding Indictment. See United States v. Ferguson, 2007 WL 4240782, at *1

(D. Conn. Nov. 30, 2007) (excluding evidence of compensation that was not linked to allegedly

unlawful conduct and admitting only that component of compensation with a direct causal link to

scheme). That required connection is absent here.

       As demonstrated by their personnel files, the defendants received base salaries for each

year while employed at Nomura. These salaries were predetermined at the beginning of each

fiscal year and were not affected by the profitability of any trades executed by the defendants.

The balance of defendants’ compensation was paid via bonuses. For certain years, these bonuses

were negotiated and set forth in writing in advance of the fiscal year. See NSISEC00056870,

NSISEC00056870 (compensation agreements setting Mr. Shapiro’s minimum compensation for

2009 and 2010 fiscal years); NSISEC00056729; NSISEC00056739 (compensation agreements

setting Mr. Gramins’s minimum compensation for 2009 and 2010 fiscal years);

NSISEC00056821 (compensation agreement setting Mr. Peters’s minimum compensation for

2009 fiscal year).1 In years when defendants’ bonuses were not previously negotiated, they were

entirely discretionary and payable at the sole and absolute discretion of Nomura.             The

discretionary nature of Nomura’s bonus determination demonstrates that this compensation was

not tied to any particular trades, let alone the Charged Trades, and renders the defendants’ bonus

awards irrelevant to the charged conduct.

       Moreover, even if the government wished to somehow connect defendants’ compensation

to the profitability of the Charged Trades, the only way it could do so would be through the



1
  In keeping with the confidentiality and prejudice concerns described in this memorandum, we
have not attached as exhibits the personnel files and other documents cited in this memorandum
that detail defendants’ compensation. Should the Court wish to review these documents, we
respectfully request that they be reviewed in camera or that we be permitted to file them under
seal.


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introduction of evidence or testimony regarding the method by which their compensation was

actually calculated. The government has not provided any indication that it will offer such

evidence or testimony. Although Nomura has produced hundreds of thousands of documents to

the government as part of its investigation of this matter, the government’s proposed exhibit list

does not include any document that illustrates the method Nomura used to determine the amount

of the discretionary portion of defendants’ compensation. Nor has the government disclosed any

witnesses from Nomura who played any role in determining the amount of defendants’

compensation. In Litvak, the government offered a single witness with direct knowledge of the

method used to determine Mr. Litvak’s discretionary compensation – his supervisor. Here, in

contrast, not a single witness disclosed by the government had any supervisory authority over

defendants. Thus, the government cannot establish a link between the Charged Trades and

defendants’ compensation, a pre-requisite to the introduction of this evidence at trial.

       In addition, the Superseding Indictment relates to only thirteen trades executed by the

Nomura RMBS desk, and the allegedly unlawful profits at issue in the Superseding Indictment

comprise only a fraction of a percent of the overall business generated by the RMBS desk at

Nomura during the years covered by the Superseding Indictment. Even including any additional

trades identified in the government’s proposed trial exhibits, the amount at issue is an extremely

small percentage of Nomura’s overall RMBS business. During the fiscal years of 2011 through

2014, the RMBS desk, largely through the appreciation in value of its own inventory of RMBS,

generated several hundred million dollars in net revenue for the benefit of Nomura.

       Given the relative insignificance of the number and profitability of Charged Trades

compared to Nomura’s RMBS business as a whole, allowing the jury to hear about the

defendants’ total compensation or discretionary bonuses will create confusion and unfair




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prejudice.     See Ferguson, 2007 WL 4240782, at *1 (evidence of salary and bonuses was

“irrelevant to the charges” of stock manipulation because there was no direct link between salary

and bonuses and stock prices); see also Aristocrat Leisure Ltd. v. Deutsche Bank Trust Co. Ams.,

2009 WL 3111766, at *6-7 (S.D.N.Y. Sept. 28, 2009) (granting defendants’ motion in limine to

exclude information relating to defendants’ compensation, other than the method of

compensation, because even if relevant, any limited probative value of this information is

outweighed by its potential to bias the jury under Rule 403); L–3 Commc’ns Corp. v. OSI Sys.,

Inc., 2006 WL 988143, at *6 (S.D.N.Y. Apr. 13, 2006) (granting defendant’s motion in limine to

exclude evidence of its witness’s wealth and lifestyle because the information was “clearly

irrelevant,” and its inclusion would be unfairly prejudicial under Rule 403); see also United

States v. Stahl, 616 F.2d 30, 31-33 (2d Cir. 1980) (finding prosecutor had “impermissibly

equate[d] success, affluence and a single minded occupation with one’s business affairs with

greed and corruption,” and made “a persistent appeal to class prejudice” warranting reversal of

defendant’s conviction of conspiring and aiding and abetting the bribery of a government official

“[b]ecause such appeals are improper and have no place in the court room”). Nor will evidence

of the defendants’ compensation assist the jury in evaluating the allegations in the Superseding

Indictment. In the absence of any attempt to link defendants’ compensation with the allegedly

unlawful gains, evidence of defendants’ compensation is not relevant or probative, but highly

prejudicial.

       For similar reasons, the government should also be precluded from offering any evidence

or insinuating at trial that the profits earned by Nomura on individual RMBS trades were actually

the defendants’ profits. It is uncontroverted that this was not the case. However, at the trial of

Jesse Litvak – a former RMBS trader at Jefferies & Co. who was charged for securities fraud




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based upon similar conduct to the conduct of defendants’ at issue in this case – the government,

in both its opening and closing statements, referred to proceeds from the trades at issue in that

case as money that Mr. Litvak “pocketed” or “his profits.” (Tr. 86:13–15; 98:6–7; 2362:21–

2363:11; 2400:20–21). These incorrect and unsubstantiated statements by the government or its

witnesses are highly prejudicial and misleading, as they insinuate a motive for the allegedly

unlawful conduct of defendants that simply did not exist. They should be excluded pursuant to

Rules 401 and 403.


                                        CONCLUSION

       For the foregoing reasons, defendants respectfully request that the Court grant their

motion in limine to preclude the government from introducing evidence concerning defendants’

compensation or that the proceeds earned by Nomura on the Charges Trades, or any individual

RMBS trade, were actually profits earned by the defendants.




                                                     Respectfully submitted,


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                               CERTIFICATION OF SERVICE

       I hereby certify that on July 8, 2016, a copy of foregoing Motion in Limine to Exclude

Evidence and Argument Regarding the Defendants’ Compensation was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.

Dated: New York, New York
       July 8, 2016

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